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                                                                                                    United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                            ENTERED
                                                                                                          March 21, 2023
                          IN THE UNITED STATES BANKRUPTCY COURT                                         Nathan Ochsner, Clerk
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                   ORDER AUTHORIZING THE
                RETENTION AND EMPLOYMENT OF
    TENEO CAPITAL LLC AS FINANCIAL ADVISOR TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS, EFFECTIVE AS OF JANUARY 19, 2023

             Upon the application (the “Application”)1 of the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the chapter 11 case of Alexander E. Jones (the “Debtor,”

and such case, the “Chapter 11 Case”) for entry of an order, pursuant to sections 328(a) and 1103(a)

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the

Local Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the

Southern District of Texas (the “Local Rules”) authorizing the Committee to retain and employ

Teneo Capital LLC (together with its affiliates, “Teneo”), as financial advisor; and upon the

declaration of Marc S. Kirschner (the “Kirschner Declaration”) in support of the Application; and

due and adequate notice of the Application having been given; and the Court finding, based on the

representations made in the Application and the Kirschner Declaration, that Teneo does not

represent any interest adverse to the Committee or creditors of this estate with respect to the matters

upon which it is to be engaged, that it is a “disinterested person,” as that term is defined in



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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Bankruptcy Code section 101(14), as modified by Bankruptcy Code section 1107(b), that its

employment is necessary and in the best interests of the Committee and the Debtor’s estate; and

finding that adequate notice of the Application having been given; and it appearing that no other

notice need be given; and after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED THAT:

       1.      The relief requested in the Application is granted as set forth herein.

       2.      In accordance with Bankruptcy Code sections 328 and 1103(a), Bankruptcy Rules

2014 and 2016 and Local Rules 2014-1 and 2016-1, the Committee is hereby authorized and

empowered to retain and employ Teneo as financial advisor in connection with the Chapter 11

Case and related matters and proceedings on the terms set forth in the Application and the

Kirschner Declaration, effective as of January 19, 2023, as modified herein.

       3.      Teneo shall be compensated in accordance with the procedures set forth in

Bankruptcy Code sections 330 and 331, the applicable Bankruptcy Rules, the applicable Local

Rules, applicable U.S. Trustee guidelines, the Order Granting Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter

11 Professionals, dated January 20, 2023 [ECF No. 106] and any other applicable procedures and

orders of the Court. For the avoidance of doubt, the rights of the Debtor and all other parties in

interest to object to court approval of fees and expenses on any basis permitted by the Bankruptcy

Code and applicable rules, including those typically raised as objection to employment

applications, are expressly reserved.

       4.      The following indemnification provisions are approved:

                (a) Subject to the provisions of subparagraphs (b) and (c) below, the Debtor is
                    authorized to indemnify, and shall indemnify, and hold harmless, Teneo for
                    any claims arising from, related to or in connection with Teneo’s engagement

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                   under the Application, but not for any claim arising from, related to or in
                   connection with Teneo’s postpetition performance of any other services, other
                   than those in connection with the engagement described in the Application,
                   unless such postpetition services and indemnification are approved by this
                   Court; and further, the Committee and third parties working with the
                   Committee in connection with this bankruptcy case shall look only to the
                   Debtor to satisfy any liability in connection with Teneo’s engagement under
                   the Application;

                (b) The Debtor shall have no obligation to indemnify or hold harmless Teneo for
                    any claim or expense that is either (i) judicially determined (the determination
                    having become final) to have arisen primarily from Teneo’s gross negligence,
                    willful misconduct or fraud unless the Court determines that indemnification
                    would be permissible pursuant to In re United Artists Theatre Company, et al.,
                    315 F.3d 217 (3d Cir. 2003) or (ii) settled prior to a judicial determination as
                    to Teneo’s gross negligence, willful misconduct or fraud, but determined by
                    this Court, after notice and a hearing, to be a claim or expense for which Teneo
                    is not entitled to receive indemnity under the terms of the Application; and

                (c) If, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                    in this Chapter 11 Case (that order having become a final order no longer
                    subject to appeal) and (ii) the entry of an order closing this chapter 11 case,
                    Teneo believes that it is entitled to the payment of any amounts by the Debtor
                    on account of the Debtor’s indemnification obligations under the Application,
                    including, without limitation, the advancement of defense costs, Teneo must
                    file an application in this Court, and the Debtor may not pay any such amounts
                    to Teneo before the entry of an order by this Court approving the payment.
                    This subparagraph (c) is intended only to specify the period of time during
                    which the Court shall have jurisdiction over any request for fees and expenses
                    by Teneo for indemnification, and not as a provision limiting the duration of
                    the Debtor’s obligation to indemnify Teneo.

       5.      In the event that, during the pendency of this Chapter 11 Case, Teneo seeks

reimbursement, as expenses, for any attorneys’ fees and/or expenses, the invoices and supporting

time records from such attorneys shall be included in any such application filed with the Court,

and such invoices and time records shall be in compliance with the Local Rules and shall be subject

to approval of the Court under the standards of the Bankruptcy Code section 330 and 331, without

regard to whether such professional has been retained under Bankruptcy Code section 327;

provided, however, that Teneo shall not seek reimbursements from the Debtor’s estate for any fees

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incurred in defending any of Teneo’s fee applications in this Chapter 11 Case.

       6.        To the extent the Committee wishes to change the terms of retention or expand the

scope of Teneo’s services beyond the Services set forth in the Application, the Committee shall be

required to seek further approval of this Court. The Committee shall file notice of any proposed

changes to the terms of retention or any additional services the Court, and serve such notice on the

U.S. Trustee, the Debtor and any party requesting notice under Bankruptcy Rule 2002. If no such

party files an objection within ten (10) days of the Committee filing such notice, such changed or

additional services may be approved by the Court by further order without further notice or

hearing.

       7.        To the extent there is inconsistency between the terms of the Application, the

Kirschner Declaration and this Order, the terms of this Order shall govern.

       8.        Teneo shall use its reasonable efforts to coordinate with the Committee to avoid

duplication of any of the services provided to the Committee by any of its other retained

professionals.

       9.        Teneo will review its files periodically during the pendency of this Chapter 11 Case

to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new relevant

facts or relationships are discovered or arise, Teneo will use reasonable efforts to identify such

further developments and will promptly file a supplemental declaration, as required by Bankruptcy

Rule 2014(a).

       10.       The terms and conditions of this Order shall be immediately effective and

determine all matters arising from the implementation of this Order.




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       11.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.



Dated: _______________, 2023
             August
             March 21,02, 2019
                       2023
                                              _________________________________________
                                             THE HONORABLE CHRISTOPHER M. LOPEZ
                                             UNITED STATES BANKRUPTCY JUDGE




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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-33553-cml
Alexander E. Jones                                                                                                     Chapter 11
Official Committee Of Unsecured Creditor
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 7
Date Rcvd: Mar 23, 2023                                               Form ID: pdf002                                                           Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 25, 2023:
Recip ID                   Recipient Name and Address
db                         Alexander E. Jones, c/o 2525 McKinnon Street, Suite 425, Dallas, TX 75201
cr                     +   Francine Wheeler, Cain & Skarnulis PLLC, Ryan E. Chapple, 303 Colorado Street, Suite 2850 Austin, TX 78701-4653
cr                     +   Free Speech Systems, LLC, Free Speech Systems, LLC, c/o Patrick Magill, 3019 Alvin Devane Blvd., Ste 300 Austin,, TX 78741-7417
cr                    #+   Leonard Pozner, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX 77002-6774
cr                    #+   Marcel Fontaine, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin, Suite 2700 Houston, TX 77002-6774
cr                    #+   Neil Heslin, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX 77002-6774
crcm                   +   Official Committee Of Unsecured Creditors, c/o Marty L. Brimmage, Jr., Akin Gump Strauss Hauer & Feld LLP, 2300 N. Field Street,
                           Suite 1800, Dallas, TX 75201-4675
cr                     +   Reeves Law, PLLC, 702 Rio Grande St., Suite 203, Austin, TX 78701-2720
cr                     +   Richard M. Coan, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
cr                    #+   Scarlett Lewis, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX 77002-6774
cr                     +   Security Bank of Texas, P.O. Box 90, Crawford, Tx 76638-0090
cr                     +   Travis County, c/o Jason A. Starks, P.O. Box 1748, Austin, TX 78767-1748
cr                    #+   Veronique De La Rosa, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX
                           77002-6774

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
cr                         Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Mar 23 2023 20:21:00      Bank of America N.A., P.O. BOX 31785, Tampa,
                                                                                                                  FL 33631-3785

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty                            Akin Gump Strauss Hauer & Feld LLP
cr                             Carlee Soto Parisi
cr                             Carlos M Soto
cr                             David Wheeler
cr                             Donna Soto
cr                             Ian Hockley
cr                             Jacqueline Barden
cr                             Jennifer Hensel
cr                             Jillian Soto-Marino
cr                             Mark Barden
cr                             Nicole Hockley
cr                             Robert Parker
cr                             William Aldenberg
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District/off: 0541-4                                               User: ADIuser                                                         Page 2 of 7
Date Rcvd: Mar 23, 2023                                            Form ID: pdf002                                                     Total Noticed: 14
cr                               William Sherlach

TOTAL: 14 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 25, 2023                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 21, 2023 at the address(es) listed
below:
Name                             Email Address
Avi Moshenberg
                                 on behalf of Creditor Leonard Pozner avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Creditor Marcel Fontaine avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Plaintiff Veronique De La Rosa avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Creditor Veronique De La Rosa avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Creditor Neil Heslin avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Creditor Scarlett Lewis avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Plaintiff Estate of Marcel Fontaine avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Plaintiff Neil Heslin avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Plaintiff Scarlett Lewis avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Avi Moshenberg
                                 on behalf of Plaintiff Leonard Pozner avi.moshenberg@mhllp.com patricia.flores@mhllp.com

Bradley J. Reeves
                                 on behalf of Creditor Reeves Law PLLC bradley.reeves@pillsburylaw.com

Christina Walton Stephenson
                                 on behalf of Debtor Alexander E. Jones Crissie.Stephenson@crowedunlevy.com
                                 elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Elizabeth Carol Freeman
                                 on behalf of Interested Party Melissa A Haselden liz@lizfreemanlaw.com
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net

Ha Minh Nguyen
                                 on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jarrod B. Martin
                                 on behalf of Creditor Neil Heslin jarrod.martin@chamberlainlaw.com
                                 Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                      Case 22-33553 Document 225 Filed in TXSB on 03/25/23 Page 8 of 12
District/off: 0541-4                                          User: ADIuser                                                       Page 3 of 7
Date Rcvd: Mar 23, 2023                                       Form ID: pdf002                                                   Total Noticed: 14
                             on behalf of Plaintiff Leonard Pozner jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Plaintiff Scarlett Lewis jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Creditor Leonard Pozner jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Plaintiff Estate of Marcel Fontaine jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Creditor Veronique De La Rosa jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Creditor Marcel Fontaine jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Plaintiff Veronique De La Rosa jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Creditor Scarlett Lewis jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Plaintiff Neil Heslin jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jason Starks
                             on behalf of Creditor Travis County bkecf@traviscountytx.gov

Jayson B. Ruff
                             on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Jennifer Jaye Hardy
                             on behalf of Creditor Veronique De La Rosa jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Estate of Marcel Fontaine jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Leonard Pozner jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Veronique De La Rosa jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Marcel Fontaine jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Scarlett Lewis jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Neil Heslin jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Neil Heslin jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Leonard Pozner jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Scarlett Lewis jhardy2@willkie.com mao@willkie.com

John D Malone
                             on behalf of Creditor Security Bank of Texas myra@johnmalonepc.com myra@johnmalonepc.com

Marty L Brimmage
                             on behalf of Creditor Committee Official Committee Of Unsecured Creditors mbrimmage@akingump.com
                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                             on behalf of Creditor Jennifer Hensel mbrimmage@akingump.com
                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                     Case 22-33553 Document 225 Filed in TXSB on 03/25/23 Page 9 of 12
District/off: 0541-4                                         User: ADIuser                                                     Page 4 of 7
Date Rcvd: Mar 23, 2023                                      Form ID: pdf002                                                 Total Noticed: 14
                            on behalf of Creditor Nicole Hockley mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Carlos M Soto mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Carlee Soto Parisi mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Mark Barden mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor William Sherlach mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor William Aldenberg mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Jillian Soto-Marino mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Francine Wheeler mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Donna Soto mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Scarlett Lewis mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Veronique De La Rosa mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor David Wheeler mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Neil Heslin mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Marcel Fontaine mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Leonard Pozner mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Jacqueline Barden mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Robert Parker mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Marty L Brimmage
                            on behalf of Creditor Ian Hockley mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com

Melissa A Haselden
                            mhaselden@haseldenfarrow.com
                            haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;haselden.melissaa.r104367@notify.bestcase.com

Melissa A Haselden
                            on behalf of Interested Party Melissa A Haselden mhaselden@haseldenfarrow.com
                            haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;haselden.melissaa.r104367@notify.bestcase.com

Nicholas Lawson
                            on behalf of Creditor Neil Heslin nick.lawson@mhllp.com patricia.flores@mhllp.com

Nicholas Lawson
                  Case 22-33553 Document 225 Filed in TXSB on 03/25/23 Page 10 of 12
District/off: 0541-4                                         User: ADIuser                                                    Page 5 of 7
Date Rcvd: Mar 23, 2023                                      Form ID: pdf002                                                Total Noticed: 14
                            on behalf of Creditor Marcel Fontaine nick.lawson@mhllp.com patricia.flores@mhllp.com

Nicholas Lawson
                            on behalf of Creditor Veronique De La Rosa nick.lawson@mhllp.com patricia.flores@mhllp.com

Nicholas Lawson
                            on behalf of Creditor Scarlett Lewis nick.lawson@mhllp.com patricia.flores@mhllp.com

Nicholas Lawson
                            on behalf of Creditor Leonard Pozner nick.lawson@mhllp.com patricia.flores@mhllp.com

Raymond William Battaglia
                            on behalf of Creditor Free Speech Systems LLC rbattaglialaw@outlook.com, rwbresolve@gmail.com

Richard A. Cochrane
                            on behalf of Creditor Leonard Pozner rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Veronique De La Rosa rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Mark Barden rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Carlee Soto Parisi rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Scarlett Lewis rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Donna Soto rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Francine Wheeler rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Neil Heslin rcochrane@akingump.com jlangmack@akingump.com

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                            on behalf of Creditor Nicole Hockley rcochrane@akingump.com jlangmack@akingump.com

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                            on behalf of Creditor William Aldenberg rcochrane@akingump.com jlangmack@akingump.com

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                            on behalf of Creditor Ian Hockley rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Carlos M Soto rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Marcel Fontaine rcochrane@akingump.com jlangmack@akingump.com

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                            on behalf of Creditor David Wheeler rcochrane@akingump.com jlangmack@akingump.com

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                            on behalf of Creditor Jennifer Hensel rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Jacqueline Barden rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Jillian Soto-Marino rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor William Sherlach rcochrane@akingump.com jlangmack@akingump.com

Richard A. Cochrane
                            on behalf of Creditor Robert Parker rcochrane@akingump.com jlangmack@akingump.com

Ryan E Chapple
                            on behalf of Creditor Ian Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Donna Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Richard M. Coan rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff David Wheeler rchapple@cstrial.com aprentice@cstrial.com
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Ryan E Chapple
                          on behalf of Creditor Carlos M Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor William Aldenberg rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Mark Barden rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff William Sherlach rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Donna Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Robert Parker rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Carlos M. Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor William Sherlach rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Jacqueline Barden rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Jacqueline Barden rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Nicole Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Jillian Soto-Marino rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Richard M. Coan rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor David Wheeler rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Jennifer Hensel rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Carlee Soto Parisi rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Francine Wheeler rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Robert Parker rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Ian Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Jennifer Hensel rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff William Aldenberg rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Jillian Soto Marino rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Nicole Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Carlee Soto-Parisi rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Plaintiff Mark Barden rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Francine Wheeler rchapple@cstrial.com aprentice@cstrial.com

Shelby A Jordan
                          on behalf of Debtor Alexander E. Jones cmadden@jhwclaw.com

Shelby A Jordan
                          on behalf of Defendant Alexander E. Jones cmadden@jhwclaw.com
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US Trustee
                          USTPRegion07.HU.ECF@USDOJ.GOV

Vickie L Driver
                          on behalf of Debtor Alexander E. Jones Vickie.Driver@crowedunlevy.com
                          elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Yoshie Valadez
                          on behalf of Creditor Bank of America N.A. mhtbkanhsselffilings@mccarthyholthus.com yvaladez@mccarthyholthus.com


TOTAL: 119
